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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


In re:

PETITIONS FOR RELIEF
                                                Misc. No. 18-167 (ABJ)
CONCERNING CONSENT ORDER
OF FORFEITURE




UNITED STATES OF AMERICA,

            v.
                                                Crim. No. 17-cr-201-1 (ABJ)
PAUL J. MANAFORT, JR.,

         Defendant.


           PETITION OF CITIZENS BANK, N.A. FOR ANCILLARY HEARING

         Citizens Bank, N.A. (“Citizens” or the “Petitioner”), by and through its counsel,

Helen V. Cantwell, Esq., respectfully petitions this Court for an ancillary hearing pursuant to

Title 21, United States Code, Section 853(n), and asserts its interest as an innocent third party

with respect to the Property (as hereinafter defined) which has been forfeited to the United

States, in the above-styled case, as follows:

                                           The Property

1.       Citizens asserts its interest in the following real property and premises ordered forfeited

         to the United States pursuant to that certain Consent Order of Forfeiture dated

         October 9, 2018 [Crim. No. 17-cr-201-1 (ABJ), ECF No. 443] (the “Order”): 29 Howard




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           Street, #4D, New York, New York 10013 (Section: 1; Block: 209; Lot: 1104; Volume: 5)

           (the “Property”).1

                                                       The Note

2.         On or about March 4, 2016, Paul J. Manafort Jr. (“Defendant”) executed and delivered to

           Citizens that certain Consolidated Adjustable Rate Note dated March 4, 2016

           (the “Note”) in the principal amount of $2,730,000.00. A copy of the Note is attached

           hereto as Exhibit A. The length of time and current payment provisions of this loan are:

           30-year term, current monthly payment of $12,333.88, and current interest rate of 2.5%

           fixed.

3.         The Note was and is secured by:

           a.       That certain Consolidation, Extension, and Modification Agreement dated

                    March 4, 2016 (the “CEMA Agreement”) recorded on April 19, 2016 at City

                    Register File Number (“CRFN”) 2016000136306 in the City Register of the City

                    of New York, New York (the “City Register”). A copy of the CEMA Agreement

                    is attached hereto as Exhibit B;

           b.       That certain New Money-Gap Mortgage dated March 4, 2016 (the “Gap

                    Mortgage”) recorded on April 19, 2016 at CRFN 2016000136305 in the

                    City Register. A copy of the Gap Mortgage is attached hereto as Exhibit C;

           c.       That certain Assignment of Mortgage dated February 8, 2016 (the “Assignment”)

                    recorded on April 19, 2016 at CRFN 2016000136304 in the City Register.

                    A copy of the Assignment is attached hereto as Exhibit D; and

           d.       That certain Mortgage dated April 26, 2012 (the “Mortgage”) recorded on

                    April 26, 2012 at CRFN 2012000268595 in the City Register. A copy of the
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    Unless otherwise noted, all docket references herein refer to docket entries in Misc. No. 18-167 (ABJ).


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            Mortgage is attached hereto as Exhibit E. Collectively, the Note, the CEMA

            Agreement, the Gap Mortgage, the Assignment, and the Mortgage are referred to

            herein as “Loan Number XXXX5212.”

4.   As of January 16, 2019, which is the date of the most recently-generated statement, the

     total amount due under Loan Number XXXX5212 is $2,614,409.05, inclusive of: (i)

     principal balance of $2,577,724.84, (ii) interest of $26,738.22, (iii) escrow (taxes and

     insurance) of $7,249.29, and (iv) total fees and charges of $2,696.70. A copy of the

     statement is attached hereto as Exhibit F. Interest will continue to accrue under the Note

     at a rate of $176.56 per diem.

                                  The HELOC Agreement

5.   Additionally, on or about March 4, 2016, Defendant executed and delivered to Citizens

     that certain Home Equity Line of Credit Agreement dated March 4, 2018

     (the “HELOC Agreement”). A copy of the HELOC Agreement is attached hereto as

     Exhibit G. The length of time and current payment provisions of this loan are: current

     10-year draw period (followed by 15-year repayment period), current monthly payment

     of $8,248.93 (interest only), and current interest rate of 6.34% variable.

6.   The HELOC Agreement was and is secured by that certain Credit Line Mortgage dated

     March 4, 2016 (the “HELOC Mortgage”) recorded on April 19, 2016 at

     CRFN 2016000136307 in the City Register. A copy of the HELOC Mortgage is attached

     hereto as Exhibit H. Collectively, the HELOC Agreement and the HELOC Mortgage

     are referred to herein as “Loan Number XXXX9203.”

7.   As of January 7, 2019, which is the date of the most recently-generated statement, the

     total amount due under Loan Number XXXX9203 is $700,350.58, inclusive of: (i)



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      principal balance of $682,378.86, (ii) interest of $17,849.72, (iii) late fees of $80.00, and

      (iv) recording fee of $42.00. A copy of the statement is attached hereto as Exhibit I.

      Interest will continue to accrue under the HELOC Agreement at a rate of $118.53 per

      diem.

                                           Insurance

8.    Pursuant to the terms of the CEMA Agreement, casualty insurance in the amount of

      $898,500.00 must be maintained on the Property. Citizens has paid casualty insurance

      premiums in the amount of $3,862.00 for coverage effective February 14, 2018 to

      February 14, 2019.

                              Acquisition of Citizens’s Interest

9.    The circumstances under which Citizens acquired its interest are as follows: Defendant

      applied, and was approved for, Loan Number XXXX5212 and Loan Number

      XXXX9203.

10.   Pursuant to 21 U.S.C. § 853(n)(6), the Petitioner has a prior vested or superior interest in

      the Property, or is a bona fide purchaser for value of the right, title, or interest in the

      Property and was at the time of the loan transactions reasonably without cause to believe

      that the Property was subject to forfeiture.

                                         Relief Sought

11.   Citizens and the U.S. Department of Justice mutually agreed to an extension through

      December 6, 2018 of the period in which Citizens may file a petition under 21 U.S.C.

      § 853(n). A copy of the letter is attached hereto as Exhibit J.




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12.   Citizens and the U.S. Department of Justice mutually agreed to a second extension

      through December 14, 2018 of the period in which Citizens may file a petition under 21

      U.S.C. § 853(n). A copy of the letter is attached hereto as Exhibit K.

13.   On December 14, 2018, the U.S. Department of Justice informed the Court that the

      parties were continuing to discuss the possible resolution of Citizens’s anticipated

      petition and requested that the Court authorize Citizens to file a petition under 21 U.S.C.

      § 853(n) on or by January 24, 2019. The Court granted this request in an order dated

      December 17, 2018. A copy of the Court’s order [ECF No. 18] is attached hereto as

      Exhibit L.

14.   On January 24, 2019, the U.S. Department of Justice informed the Court that the parties

      were continuing to discuss the possible resolution of Citizens’s anticipated petition and

      requested that the Court authorize Citizens to file a petition under 21 U.S.C. § 853(n) on

      or by January 31, 2019. The Court granted this request in an order dated January 25,

      2019. A copy of the Court’s order [ECF No. 26] is attached hereto as Exhibit M.

15.   On January 31, 2019, Citizens and the U.S. Department of Justice mutually agreed to an

      additional extension through February 7, 2019 of the period in which Citizens may file a

      petition under 21 U.S.C. § 853(n). The U.S. Department of Justice submitted a report

      informing the Court of the parties’ ongoing discussions and requesting that the Court

      authorize an extension through February 7, 2019. A copy of the U.S. Department of

      Justice’s report [ECF No. 27] is attached hereto as Exhibit N.

16.   The Petitioner now seeks relief from the Order, and hereby respectfully requests (i) that

      this Honorable Court hold a hearing ancillary to the criminal conviction of Paul J.

      Manafort, Jr. at which the Petitioner may testify and present evidence and witnesses on




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         its own behalf pursuant to 21 U.S.C. § 853(n)(5), and (ii) further that this Honorable

         Court amend the Order to recognize fully the interest of Citizens as it is set forth herein.



Dated:    February 6, 2019                      Respectfully submitted,
          Washington, D.C.
                                                DEBEVOISE & PLIMPTON LLP


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                            RULE 7.1 DISCLOSURE STATEMENT


         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Citizens Bank, N.A., by and

through its undersigned counsel, hereby submits the following disclosure statement:

1.       Citizens Bank, N.A. is a wholly-owned subsidiary of Citizens Financial Group, Inc.,

         which is a publicly-traded company organized under the laws of Delaware.

2.       The only entity that owns more than ten (10%) percent of the shares of Citizens Financial

         Group, Inc. is The Vanguard Group, Inc., which beneficially owns 10.67% of the shares

         of Citizens Financial Group, Inc. as of December 31, 2017.

3.       The foregoing information is solely based on an amended Schedule 13G filed with the

         Securities and Exchange Commission by The Vanguard Group, Inc. on February 7, 2018.



Dated:    February 6, 2019                    Respectfully submitted,
          Washington, D.C.
                                              DEBEVOISE & PLIMPTON LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of February, 2019 a true and correct copy of the
foregoing was sent by FedEx to the individuals identified below.


Andrew Weissmann
Special Counsel’s Office
950 Pennsylvania Avenue, NW
Washington, D.C. 20530

Daniel Claman
Money Laundering and Asset Recovery Section
1400 New York Avenue, NW, Suite 10100
Washington, D.C. 20530




                                                       /s/ Anna Moody
                                                     Anna Moody




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